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                    Exhibit D to Motion

                    Publication Notice




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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

    ------------------------------------------------------- x
                                                            :
    In re:                                                  :    Chapter 11
                                                            :
    MD HELICOPTERS, INC., et al.,1                          :    Case No. 22-_______ (_____)
                                                            :
                               Debtors.                     :    (Jointly Administered)
                                                            :
    ------------------------------------------------------- x

                                     NOTICE OF BID PROCEDURES2

       PLEASE TAKE NOTICE that, on [  ], 2022, the above-captioned debtors and debtors
in possession (the “Debtors”) filed a motion (the “Bid Procedures and Sale Motion”) with the
United States Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”).

       PLEASE TAKE FURTHER NOTICE that, on [  ], 2022, the Bankruptcy Court
entered an order [Docket No. ___] (the “Bid Procedures Order”) approving Bid Procedures (the
“Bid Procedures”), which set key dates, times and procedures related to the sale of substantially
of the Debtors’ assets (the “Assets”). All interested bidders should carefully read the Bid
Procedures. To the extent there are any inconsistencies between the Bid Procedures and the
summary description of the terms and conditions contained in this Notice, the terms of the Bid
Procedures shall control.

       PLEASE TAKE FURTHER NOTICE that, pursuant to the Bid Procedures, the Debtors
must receive an Intention to Submit Qualified Bid from interested bidders in writing on or before
May 20, 2022 at 4:00 p.m. (prevailing Eastern Time) or such later date as may be agreed to by
the Debtors (the “Intention to Submit Qualified Bid Deadline”). To be considered, any Intention
to Submit Qualified Bid must comply with the requirements set forth in the Bid Procedures.

        PLEASE TAKE FURTHER NOTICE that, to be eligible to participate in the Auction,
each Bid and each Bidder must be determined by the Debtors to comply with the conditions set
forth in the Bid Procedures. The deadline to submit a Qualified Bid is June 3, 2022 at 4:00 p.m.
(prevailing Eastern Time) or such later date as may be agreed to by the Debtors (the “Bid
Deadline”). To be considered, any Bid must comply with the requirements set forth in the Bid
Procedures.


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       The two Debtors in these cases are MD Helicopters, Inc. and Monterrey Aerospace, LLC, and their
       address is 4555 E. McDowell Road, Mesa, AZ 85215. The last four digits of MD Helicopters, Inc.’s
       taxpayer identification number are 4088. Monterrey Aerospace, LLC has not been assigned a taxpayer
       identification number as of the date hereof.
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       Capitalized terms used but not otherwise defined herein shall have the meanings set forth in the Bid
       Procedures or the Bid Procedures Order, as applicable.

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        PLEASE TAKE FURTHER NOTICE that, pursuant to the terms of the Bid Procedures
Order, an auction (the “Auction”) may be held on June 9, 2021 at 10:00 a.m. (prevailing Eastern
Time) or such later time on such day or other place as the Debtors shall notify all Bidders who
have submitted Qualified Bids, or at another location as may be timely disclosed by the Debtors
to all Qualified Bidders.

        PLEASE TAKE FURTHER NOTICE that, by two (2) business days following entry of
the Bid Procedures Order, the Debtors shall send a notice to each Contract Counterparty to an
executory contract or unexpired lease setting forth the Debtors’ calculation of the cure amount, if
any, that would be owing to such counterparty if the Debtors decided to assume or assume and
assign such executory contract or unexpired lease, and alerting such nondebtor party that their
contract may be assumed and assigned to the Successful Bidder (the “Assumption Notice”). Any
Contract Counterparty that objects to (a) the proposed assumption or disagree with the proposed
Cure Amount or (b) object to the possible assignment of such executory contract(s) or unexpired
lease(s) to the Stalking Horse Bidder, (a “Assumed Contract Objection”) with the Bankruptcy
Court on or before 4:00 p.m. prevailing Eastern Time on May 11, 2022, which Assumed
Contract Objection must be served on the following parties: (a) counsel for the Debtors, Latham
& Watkins LLP, 1271 Avenue of the Americas, New York, NY 10020, Attn: Suzzanne Uhland
(suzzanne.uhland@lw.com), Adam S. Ravin (adam.ravin@lw.com), Brett M. Neve
(brett.neve@lw.com) and Troutman Pepper Hamilton Sanders LLP, Hercules Plaza, Suite 5100,
1313 Market Street, Wilmington, Delaware 19801, Attn: David B. Stratton
(david.stratton@troutman.com), David M. Fournier (david.fournier@troutman.com) and Evelyn
J. Meltzer (evelyn.meltzer@troutman.com); (b) counsel for the Stalking Horse Bidder, (i) Young
Conaway Stargatt & Taylor, LLP, Rodney Square, 1000 North King Street, Wilmington, DE
19801, Attn: Michael Nestor (mnestor@ycst.com) and Allurie Kephart (akephart@ycst.com),
(ii) Cadwalader Wickersham & Taft LLP, 200 Liberty Street, New York, NY 10281, Attn: Ingrid
Bagby (ingrid.bagby@cwt.com), William Mills (william.mills@cwt.com), and Michele C.
Maman (michele.maman@cwt.com), and (iii) Arnold & Porter Kaye Scholer LLP, 250 West 55th
Street, New York, NY 10019, Attn: Brian Lohan (brian.lohan@arnoldporter.com) and Jonathan
Levine (jonathan.levine@arnoldporter.com); (c) counsel to the Zohar Lenders, Young Conaway
Stargatt & Taylor, LLP, Rodney Square, 1000 North King Street, Wilmington, DE 19801, Attn:
Michael Nestor (mnestor@ycst.com), Joseph Barry (jbarry@ycst.com), and Ryan Bartley
(rbartley@ycst.com); (d) counsel to the Patriarch Lenders and PPAS, Cole Schotz P.C., 1325
Avenue of the Americas, 19th Floor, New York, NY 10019, Attn: Daniel F.X. Geoghan
(dgeoghan@coleschotz.com), and Cole Schotz P.C., 500 Delaware Ave, Ste 1410, Wilmington,
DE 19801, Attn: Norman L. Pernick (npernick@coleschotz.com) and G. David Dean
(ddean@coleschotz.com); (e) counsel to the DIP Lenders, (i) Arnold & Porter Kaye Scholer LLP,
250 W. 55th Street, New York, NY 10019, Attn: Brian J. Lohan (brian.lohan@arnoldporter.com)
and Jonathan Levine (jonathan.levine@arnoldporter.com), (ii) Baker & McKenzie LLP, 452 Fifth
Avenue, New York, NY 10018, Attn: Blaire A. Cahn (blaire.cahn@bakermckenzie.com) and
Andrew Sagor (andrew.sagor@bakermckenzie.com), and (iii) Womble Bond Dickinson (US)
LLP, 1313 N. Market Street, Suite 1200, Wilmington, Delaware 19801, Attn: Morgan L. Patterson
(morgan.patterson@wbd-us.com); (f) counsel to Ankura, Milbank, Tweed, Hadley & McCloy
LLP, 28 Liberty Street, New York, NY 10005, Attn: Dennis F. Dunne (ddunne@milbank.com)
and Andrew Harmeyer (aharmeyer@milbank.com); (g) counsel for the Creditors’ Committee,
[____]; and (h) the Office of the United States Trustee for the District of Delaware, J. Caleb Boggs
Federal Building, 844 King Street, Ste. 2207 – Lockbox #35, Wilmington, DE 19801, Attn: Joseph

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J. McMahon, Jr. (joseph.mcmahon@usdoj.gov) (the “Objection Notice Parties”). If a Contract
Counterparty does not timely file and serve a Assumed Contract Objection, that party will be
forever barred from objecting to (a) the Debtors’ proposed cure amount, or (b) the assignment of
that party’s executory contract or unexpired lease to the Stalking Horse Bidder.

         PLEASE TAKE FURTHER NOTICE that where a counterparty to an Assumed Contract
timely files an (i) Assumed Contract Objection asserting a higher cure amount than the amount
listed in the Assumption Notice, or (ii) Assumed Contract Objection or Post-Auction Objection,
as applicable, to the possible assignment of that counterparty’s Assumed Contract, and the parties
are unable to consensually resolve the dispute, the amount (if any) to be paid under Section 365 of
the Bankruptcy Code or, as the case may be, the Debtors’ ability to assign the Assumed Contract
to the Successful Bidder will be determined at the Sale Hearing (as defined below) or at a later
date as fixed by the Bankruptcy Court. To the extent any Contract Counterparty is added to the
Assumption Notice after the initial notice is served, such new Contract Counterparty shall receive
notice of the addition and the Debtors’ proposed cure amount through a supplemental Assumption
Notice, and that party shall have ten (10) days from the date of such notice to object to the propose
cure amount and assignment to the Successful Bidder.

        PLEASE TAKE FURTHER NOTICE that if the Debtors receive one or more
Intention(s) to Submit Qualified Bid by the Intention to Submit Qualified Bid Deadline, a hearing
will be held to approve the sale of the Assets to the Successful Bidder (the “Sale Hearing”) before
the Honorable _______, U.S. Bankruptcy Court for the District of Delaware, 824 North Market
Street, Wilmington, Delaware 19801, 6th Floor, Courtroom [  ], on June 17, 2022, at [  ]
a.m./p.m. (prevailing Eastern Time), or at such time thereafter as counsel may be heard or at
such other time as the Bankruptcy Court may determine. If the Debtors to not receive any Intention
to Submit Qualified Bid by the Intention to Submit Qualified Bid Deadline, the Sale Hearing shall
be held on May 27, 2022, at [  ] a.m./p.m. (prevailing Eastern Time). The Sale Hearing may
be adjourned from time to time without further notice to creditors or parties in interest other than
by announcement of the adjournment in open court on the date scheduled for the Sale Hearing or
on the agenda for such Sale Hearing. Objections, if any, to the relief requested in the Motion
relating to the Sale (each, a “Sale Objection”) must: (a) be in writing and specify the nature of
such objection, (b) comply with the Bankruptcy Rules and the Local Rules, (c) be filed with the
Court no later than 4:00 p.m. (prevailing Eastern Time) on May 11, 2022 (the “Sale Objection
Deadline”) and (d) be served on the Objection Notice Parties by the Sale Objection Deadline.

        PLEASE TAKE FURTHER NOTICE that if a Successful Bidder that is not the Stalking
Horse Bidder prevails at the Auction, then the deadline to object (a “Post-Auction Objection”)
solely to (a) the identity of a Successful Bidder or (b) the ability of the Successful Bidder to provide
adequate assurance of future performance under the Assumed Contract shall be June 13, 2022 at
4:00 p.m. (prevailing Eastern Time) (the “Post-Auction Objection Deadline”), which Post-
Auction Objection must be served on the Objection Notice Parties so it is actually received by the
Post-Auction Objection Deadline and filed with the Bankruptcy Court. If a Post-Auction
Objection is not filed, parties will be forever barred from objecting to the identity of the Successful
Bidder or to the assignment of that party’s executory contract or unexpired lease to the Successful
Bidder.



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     PLEASE TAKE FURTHER NOTICE THAT ANY PARTY WHO FAILS TO MAKE
A TIMELY SALE OBJECTION ON OR BEFORE THE SALE OBJECTION DEADLINE
OR POST-AUCTION OBJECTION DEADLINE, AS APPLICABLE, IN ACCORDANCE
WITH THE BID PROCEDURES ORDER SHALL BE FOREVER BARRED FROM
ASSERTING ANY SALE OBJECTION, INCLUDING WITH RESPECT TO THE
TRANSFER OF THE ASSETS FREE AND CLEAR OF ALL LIENS, CLAIMS,
ENCUMBRANCES AND OTHER INTERESTS.

        PLEASE TAKE FURTHER NOTICE that this Notice is subject to the full terms and
conditions of the Bid Procedures and the Bid Procedures Order, which shall control in the event
of any conflict with this Notice. The Debtors encourage parties in interest to review such
documents in their entirety. A copy of the Bid Procedures and the Bid Procedures Order may be
obtained for free by accessing the website of the Debtors’ noticing agent, Kroll Restructuring
Administration        LLC       (f/k/a      Prime      Clerk       LLC),       located       at
https://cases.primeclerk.com/MDHelicopters.




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Dated: ______, 2022           Respectfully Submitted,
       Wilmington, Delaware
                              _______________________________________
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                              David M. Fournier (DE No. 2812)
                              Evelyn J. Meltzer (DE No. 4581)
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                              - and -

                              LATHAM & WATKINS LLP

                              Suzzanne Uhland (pro hac vice admission pending)
                              Adam S. Ravin (pro hac vice admission pending)
                              Brett M. Neve (pro hac vice admission pending)
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